  Case 2:19-cr-00079-Z-BR Document 18 Filed 07/12/19                 Page 1 of 1 PageID 52


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

 UNITED STATES OF AMERICA,                          §
                                                    §
                                       Plaintiff,   §
                                                    §    Criminal No. 2:19-CR-079-D-BR
 VS.                                                §
                                                    §
 SHANE ANDREW SMITH (1),                            §
                                                    §
                                    Defendant.      §

                   ORDER ADOPTING REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY

       On June 18, 2019, a Report and Recommendation Concerning Plea of Guilty was issued in
the above referenced cause. The response period has expired and no objections have been filed.

       The Court has made an independent examination of the records in this case and has
examined the Magistrate Judge's Report and Recommendation Concerning Plea of Guilty. The
Court is of the opinion that the Report and Recommendation Concerning Plea of Guilty of the
United States Magistrate Judge should be ADOPTED by the United States District Court.

        The Court therefore does adopt the Report and Recommendation Concerning Plea of Guilty
as to defendant SHANE ANDREW SMITH (1).

        ACCORDINGLY, IT IS THEREFORE ORDERED that the guilty plea of defendant
SHANE ANDREW SMITH (1) as to Count(s) 1 of the indictment is found to have been knowingly
and voluntarily entered and both the guilty plea and the plea agreement are accepted. A Scheduling
Order for Sentencing was previously entered, and this case is continued for sentencing pending
receipt of the presentence report.

       ENTERED this July 12, 2019.


                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             SENIOR JUDGE
